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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 09-1025

             Nancy Mader, Personal Representative of the Estate of Robert Mader

                                                    Appellant

                                               v.

                                   United States of America

                                                    Appellee

______________________________________________________________________________

           Appeal from U.S. District Court for the District of Nebraska - Omaha
                                  (8:08-cv-00119-LSC)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 09/07/2011, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     October 31, 2011




Clerk, U.S. Court of Appeals, Eighth Circuit




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